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                          Exhibit E




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                   Complainant Eastman Kodak Company’s Notice of Prior Art Pursuant to Order No. 6
                                                   Exhibit 1
I. United States Patents
Patent No./        Title                                                Inventor(s)              Date Filed       Date Issued
Application No.
3,971,065          Color Imaging Array                                  Bayer, Bryce E.          March 5, 1975    July 20, 1976
4,131,919          Electronic Still Camera                              Lloyd, Gareth A.;        May 20, 1977     Dec. 26, 1978
                                                                        Sasson, Steven J.
4,412,252          Image Reduction System                               Moore, Robert S.;        June 1, 1981     Oct. 25, 1983
                                                                        Wessel, III, Walter F.
4,468,755          Document Size Conversion Circuit For a Document      Iida, Kazuhiko           Oct. 30, 1981    Aug. 28, 1984
                   Filing System
4,541,010          Electronic Imaging Camera                            Alston, Lawrence E.      June 17, 1983    Sept. 10, 1985
4,623,922          System For Time Compression And/Or Expansion         Wischermann, Gerhard     Sept. 7, 1983    Nov. 18, 1986
                   Of Electrical Signals
4,691,253          Electronic Imaging Camera For Recording Either       Silver, Bruce R.         May 13, 1985     Sept. 1, 1987
                   Moving Or Still Images
4,714,963          Asynchronous Still Timing For a Video Camera         Vogel, Richard M.        July 3, 1986     Dec. 22, 1987
                   Producing Movie Or Still Images
4,772,956          Dual Block Still Video Compander Processor           Roche, Vincent T.;       June 2, 1987     Sept. 20, 1988
                                                                        Porcellio, Rocco J.;
                                                                        Hadley, Keith A.
4,779,135          Multi-Image Composer                                 Judd, Thomas H.          Sept. 26, 1986   Oct. 18, 1988
4,819,059          System And Method For Formatting a Composite         Pape, David D.           Nov. 13, 1987    April 4, 1989
                   Still And Moving Image Defining Electronic
                   Information Signal
4,821,121          Electronic Still Store With High Speed Sorting And   Beaulier, Daniel A.      Feb. 24, 1987    April 11, 1989
                   Method Of Operation
4,876,590          Low Resolution Verifier For A Still Video Image      Parulski, Kenneth A.     June 17, 1988    Oct. 24, 1989
4,928,137          Image Sensing Apparatus Having a Low-Resolution      Kinoshita, Takao         Aug. 3, 1989     May 22, 1990
                   Monitor Means For Reducing The Amount Of
                   Information In An Image Signal, And Switching
                   Means For Reducing Power Consumption In
                   Various Operating Modes


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                   Complainant Eastman Kodak Company’s Notice of Prior Art Pursuant to Order No. 6
                                                   Exhibit 1
Patent No./       Title                                                Inventor(s)                Date Filed      Date Issued
Application No.
5,016,107         Electronic Still Camera Utilizing Image              Sasson, Steven J.;         May 9, 1989     May 14, 1991
                  Compression And Digital Storage                      Hills, Robert G.
5,018,017         Electronic Still Camera And Image Recording          Sasaki, Minoru;            Dec. 8, 1989    May 21, 1991
                  Method Thereof                                       Umeda, Masafumi;
                                                                       Tagami, Yoshitomo;
                                                                       Sugikawa, Akihiko
5,040,068         Electronic Imaging Apparatus With Interchangeable    Parulski, Kenneth A.;      Dec. 28, 1989   Aug. 13, 1991
                  Pickup Units                                         Moorman, Michael C.
5,077,602         Color Difference Compressor                          Moberg, Gregory O.         Feb. 15, 1990   Dec. 31, 1991
5,097,518         Technique For Performing Digital Image Scaling       Scott, Kevin C.;           Feb. 27, 1990   Mar. 17, 1992
                  By Logically Combining Or Replicating Pixels In      Knudson, Mark
                  Blocks Of Differing Groupsizes
5,138,459         Electronic Still Video Camera With Direct Personal   Roberts, Marc K.;          Nov. 20, 1990   Aug. 11, 1992
                  Computer (PC) Compatible Digital Format Output       Chikosky, Matthew A.;
                                                                       Speasl, Jerry A.
5,164,831         Electronic Still Camera Providing Multi-Format       Kuchta, Daniel W.; Sucy,   Mar. 15, 1990   Nov. 17, 1992
                  Storage Of Full And Reduced Resolution Images        Peter J.
5,226,114         Television Pictures                                  Martinez, Dennis M.;       Feb. 25, 1992   July 6, 1993
                                                                       Lim, Jae S.
5,418,565         CFA Compatible Resolution Reduction In a Single      Smith, Craig M.            Feb. 15, 1994   May 23, 1995
                  Sensor Electronic Camera
5,440,343         Motion/Still Electronic Image Sensing Apparatus      Parulski, Kenneth A.;      Feb. 28, 1994   Aug. 8, 1995
                                                                       Stevens, Eric G.;
                                                                       Hibbard, Robert H.
5,444,483         Digital Electronic Camera Apparatus For Recording    Maeda, Eiichi              Feb. 25, 1994   Aug. 22, 1995
                  Still Video Images And Motion Video Images
5,452,017         Method And Apparatus For Electronic Image Color      Hickman, Charles B.        Oct. 25, 1994   Sept. 19, 1995
                  Modification Using Hue And Saturation Levels
5,828,406         Electronic Camera Having a Processor For Mapping     Parulski, Kenneth A.;      Dec. 30, 1994   Oct. 27, 1998
                  Image Pixel Signals Into Color Display Pixels        Tredwell, Timothy J.


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                                                   Exhibit 1
Patent No./        Title                                                 Inventor(s)               Date Filed        Date Issued
Application No.
5,923,816          Recording Apparatus Which Switches From               Ueda, Osamu               June 2, 1995      July 13, 1999
                   Displaying a Still Image To Displaying a Moving
                   Image During Recording And Records Still Images
                   During Recording Moving Images




II. Foreign Patents
Patent No.       Title                                 Inventor(s)               Country           Date Filed        Date Issued
WO 89/12939      Low Resolution Verifier For a Still   Parulski, Kenneth A.      PCT Application   June 8, 1989      Dec. 28, 1989
                 Video Image
0 405 491 A2     Apparatus For Recording And           Shibata, Akira;           PCT Application   June 27, 1990     Jan. 2, 1991
                 Reproducing Digital Still Image       Mari, Fujio
                 Signal
0 456 396 A2     Electrical Connector                  Bengal, Ofer              PCT Application   April 29, 1991    Nov. 13, 1991
0 533 107 A2     Megapixel Video Previewer             Parulski, Kenneth A.      PCT Application   Sept. 15, 1992    Mar. 24, 1993
                 Framestore And Display




III. Non-Patent Publications
Author(s)                  Title                                                                    Date Published        Page
                           “Digital Photography,” Popular Science                                   Sept. 1, 1992         65
Takuya Imaide;             “A Multimedia Color Camera Providing Multi-Format Digital Images,”       Aug. 1993
Toshiro Kinugasa;          IEEE Transactions on Consumer Electronics
Yoshimichi Kudo;
Naoki Yamamoto



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                                                 Exhibit 1



IV. Other Materials
Author(s)                         Material(s)
Steve Sasson                      Steve Sasson’s Original Digital Camera




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